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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


KAYED ALMERAISI,                             4:15-CV-12823-TGB-EAS

                     Petitioner,
                                           ORDER DENYING AMENDED
   v.                                       PETITION FOR WRIT OF
THOMAS WINN,                                   HABEAS CORPUS
                     Respondent.


                                   JUDGMENT
      IT IS ORDERED that the petition for writ of habeas corpus is

DENIED. It      is    FURTHER         ORDERED      that    a   certificate   of

appealability is DENIED. It          is   FURTHER         ORDERED        that
permission to appeal in forma pauperis is DENIED.


      Dated at Detroit, Michigan, this 30th day of December, 2020.


                                          KINIKIA ESSIX
                                          CLERK OF THE COURT

                                          s/A. Chubb
                                          Case Manager and Deputy Clerk

APPROVED:

s/Terrence G. Berg
HON. TERRENCE G. BERG
UNITED STATES DISTRICT JUDGE
